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CERTI,FICATE OF GOOD STANDING
ISSUED BY THE `DISCIPLINARY CL`ERK
FOR AND ON BEHALF OF
THE SUPREME COURT OF ARIZONA

The Disciplinary Cierk pursuant to Rule 74, Ruies of the Suprerne
Court of Arizona, hereby certifies that according to the records of the State
Bar, JAMES EDWARD HjOLLAND, JR., admitted to practice as an
attorney and counselor at law inc all courts of Arizona by the Suprerne Court
of Arizona on October 22, 2002 is now, as of the date of this Certi.f:“lcate, an
active member of the State Bar of Arizona in good standing

Given under the Seal of the Disciplinary
Cierk of the S'upreme Court of Arizona
this December 9, 2016.

 
   

A anda-McQu~een
Diseiplinary Clerk

 

